






Opinion issued April 17, 2003


		

			







In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00179-CV

____________


ERIC JOHNSON AND ALL OCCUPANTS, Appellants


V.


CENDANT MORTGAGE CORPORATION, ET AL., Appellees






On Appeal from the County Civil Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 783,854






O P I N I O N

	This is an appeal from a judgment signed on February 21, 2003.  The notice of
appeal was filed on February 26, 2003. 

	On March 27, 2003, the Court issued an order stating as follows:


Appellant has not paid the appellate filing fee of $125.  See Tex. R. App.
P. 5; Order Regarding Fees Charged in Civil Cases in the Supreme
Court and the Courts of Appeals, Misc. Docket No. 98-9120 (Tex. July
21, 1998).  Unless within 15 days of the date of this Order appellant
pays such filing fee to the Clerk of this Court, the appeal will be
dismissed.  See Finley v. J.C. Pace Ltd., 4 S.W.3d 319, 321-22 (Tex.
App.- Houston [1st Dist.] 1999) (order); Negrini v. Smith, Nelson &amp;
Clement P.C., 998 S.W.2d 362, 363 (Tex. App.- Houston [1st Dist.]
1999, no pet.).  


The 15 days have expired since the order was issued and appellants have not
paid the filing fee.

	Accordingly, appellants' appeal is dismissed for want of prosecution. 
See Tex. R. App. P. 37.3(b); 5; 42.3(b). 

PER CURIAM

Panel consists of Justices Hedges, Alcala, and Higley.

Do not publish.  Tex. R. App. P. 47.


